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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:          Amina P. Gallashaw           :      CHAPTER 13
                                              :
                               Debtor         :      BANKRUPTCY NO. 20-11324 mdc
                                              :
 Nations Lending Corporation                  :      11 U.S.C. § 362
               Movant                         :
                                              :
 v.                                           :
                                              :
 Amina P. Gallashaw                           :
               Debtor/Respondent              :
 Kenneth E. West, Esquire                     :
               Trustee/Respondent             :

  DEBTOR AMINA P. GALLASHAW’S RESPONSE TO MOTION FOR RELIEF FROM
                        THE AUTOMATIC STAY

          Debtor Amina P. Gallashaw (“Ms. Gallashaw” or “Debtor”) by her attorney, opposes the

 Motion (“the Motion”) of Nations Lending Corporation (“Movant”) for termination of the

 Automatic Stay and in opposition thereto states as follows:

      1. Admitted.

      2. Admitted.

      3. Admitted.

      4. Admitted.

      5. Admitted.

      6. Admitted.

      7. Admitted.

      8. Admitted.
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   9. Denied. It is specifically denied that Ms. Gallashaw has failed to tender monthly

      payments for the months of August 2022 through December 2022, and strict proof

      thereof is demanded at trial.

   10. Denied. It is specifically denied that Ms. Gallashaw’s post-petition arrearage is

      $4,069.50, and strict proof thereof is demanded at trial.

   11. Denied. It is specifically denied that Movant’s claim amount is $160,284.92, and strict

      proof thereof is demanded at trial.

   12. Admitted in part, denied in part. It is admitted that when Ms. Gallashaw filed her

      bankruptcy petition in March 2020, her property was worth $127,400. It is denied that

      Ms. Gallashaw’s property is currently worth that amount. Based on the City’s recent

      assessment, Ms. Gallashaw’s home is worth $184,000.

   13. Denied. Movant has no basis for any relief.

   14. Denied. Movant has no basis for any relief. It is denied that Movant has any cause for

      relief from the automatic stay as any interest Movant may have in Debtor’s home is

      protected by periodic cash payments and by the provisions of Debtor’s proposed Plan.

      Further, upon information and belief, any interest Movant may have in Debtor’s home is

      protected by an equity cushion. Further, Debtor’s home is necessary for a successful plan.

   15. Denied. Movant has no basis for any relief. It is denied that Movant has any cause for

      relief from the automatic stay as any interest Movant may have in Debtor’s home is

      protected by periodic cash payments and by the provisions of Debtor’s proposed Plan.

      Further, upon information and belief, any interest Movant may have in Debtor’s home is

      protected by an equity cushion. Further, Debtor’s home is necessary for a successful plan.

   16. Denied. Movant has no basis for any relief.
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            WHEREFORE, Debtor prays this Court to deny the Motion for Relief.



                                       Respectfully submitted,

                                       /s/ Jane P. Nylund
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